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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 1of8

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK.

 

LETHONIA MILLER,
PLAINTIFF,
COMPLAINT
VS. a

NEW YORK STATE POLICE, KEVIN Index No.

KENDALL,

DEFENDANT.

 

Plaintiff, Lethonia Miller alleges as follows:

PARTIES
Plaintiff, Lethonia Miller, is a natural person with a place of residence at 60 Floss Avenue,
Buffalo, New York, 14221.
Defendant, New York State Police, with offices located at 65 Court Street, Buffalo, New York
14202.

Defendant, Kevin Kendall, is a Senior Investigator for the New York State Police.

JURISDICTION AND VENUE
The Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and as conferred by 42
U.S.C. §§ 2000e to 2999e-17 (amended 1972, 1978, and by the Civil Rights Act of 1991, Pub. L.
No. 102-166) and 20 ULS.C.A. § 1681,
Defendant is subject to the jurisdiction of this Court and venue is proper in this District pursuant
to 28 U.S.C. § 1391 (b) as the acts and omissions giving rise to the claims in this complaint

occurred within the Western District of New York.

EXHAUSTION OF ADMINISTRATIVE REMEDIES
Plaintiff has exhausted administrative remedies as a prerequisite to bringing this claim as

follows:
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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 2 of 8

On September 9, 2013, Plaintiff filed a complaint with the Equal Employment Opportunity
Commussion (EEOC). That complaint was designated as EEOC Charge No. 525-2013-00798.
On February 27, 2014, the EEOC mailed Plaintiff a Dismissal and Notice of Rights letter

demonstrating that he has exhausted his administrative remedies Under Title VI.

FACTUAL BACKGROUND
Plaintiff is a forty-nine year old African-American male who was hired by Defendant on March

30, 1987 as a Recruit Trooper.

10. Plainuii began working in the Violent Felony Warrant Squad of the New York State Police,

‘Troop A, in March of 2008. Plaintiff's current position is that of Investigator in the Violent
Felony Warrant Squad.

Plaintiff's supervisor in the Violent Felony Warrant Squad is Senior Investigator Kevin Kendall.
Kendall has a history of using derogatory comments to refer to African-Americans including
remarking that African-Americans are “niggers,” “niggas,” “monkeys,” “savages” and
“animals,”

Plaintiff has repeatedly asked Kendail not to use derogatory terms to refer to African-Americans,
stating that the usage is unwelcome, inappropriate and offensive.

In June of 2010, Kendall and Plaintiff were working in the course of their employment when a
witness used the term “nigger.” Both Kendall and Plaintiff were in close proximity and both
heard the comment. Despite this, Kendall repeated the term laughingly to Plaintiff several times.
In August of 2010, Kendall referred to the victims of a shooting incident ~all of whom were
African-American- as “animals” after Kendall read that those victims had police records.

On February 17, 2011, Kendall commented on an interviewee’s statement to him regarding a
case. Kendail made this comment mocking the interviewee in a derogatory, mocking, minstrelsy
voice stating “y’all ain’t gonna catch him, he’s a smart nigga.”

On July 27, 2012, while working in the course of their employment, Kendall recounted an
imitation of a fellow Caucasian colleague’s impression of a witness and stated “why do you keep
referring to the [suspect] as ‘that nigga’? ...So that means you’re sitting there with his baby
that’s half a nigga.”

In the summer of that year, while working in the course of their employment, Kendall, plaintiff

and others were conducting a search of a home that was occupied by African-Americans.
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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 3 of 8

Kendall emerges from the residence and stated “they’re fucking animals... how can they live in
that shit?”

Kendall, pursuant to the course of his employment, created a pseudonym on Facebook. This
pseudonym was created as part of an investigation and depicted the account owner as an African-
American female. Kendall routinely posts comments under this pseudonym.

On November 5, 2012, Kendall posted the term “nigga” on Facebook under this pseudonym.

On November 6, 2012, Kendall calls the plaintiff over to Kendall’s desktop computer. Kendall
shows plaintiff the post where he used the term “nigga” and reads the Facebook post aloud to
plaintiii. in reading the post aloud, Kendali uses the term “nigga” several times.

On January 14, 2013, Kendall and plaintiff were working in the course of their employment.
Kendall states to an African-American witness that “{her] brother and a bunch of other savages
beat up a retarded kid.”

Later, during the same day and incident, Kendall and plaintiff move out of earshot of the
African-American witness. Kendall then makes a comment that the witness “had a great body
for monkey sex.”

On January 28, 2013 Kendall recounted an imitation of a fellow Caucasian colleague’s
impression of an “old Black guy.” Kendall’s imitation was performed in a derogatory, mocking,
minstrelsy voice where Kendall stated ““aww man... I ain’t seen that nigger in a minute.”

At some time in 2013, Kendall and plaintiff were present at the Troop A — Violent Felony Office
working in the course of their employment. Kendall calls plaintiff over to Kendall’s desk to
show plaintiff a video titled “Sweet Brown’s Cold Pop Escape.” This video is an edited, news
report set to music which depicts an African-American female describing her flight from a fire in
her housing complex.

After showing this video, Kendall began laughing and imitated the subject of the video using a
derogatory, mocking, minstrelsy voice.

On May 2, 2013, Kendall and plaintiff were working in the course of their employment. Plaintiff
described a witness who was an older, African-American male. Kendall responded with an
imitation of a fellow Caucasian colleague’s impression of an “old Black guy.” Kendall’s
imitation was performed in a derogatory, mocking, minstrelsy voice where Kendall stated “aww

man... I ain’t seen that nigger in a minute.”
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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 4 of 8

.On June 11, 2013 Kendall and plaintiff were working in the course of their employment.

Kendall commented on a witness he encountered with an imitation of a fellow Caucasian
colleague’s impression of an “old Black guy.” Kendall’s imitation was performed in a
derogatory, mocking, minstrelsy voice where Kendall stated “aww man... I ain’t seen that nigger
in a minute.”

Sometime in July of 2013, Plaintiff speaks to Kendall about participating in the U.S. Marshal’s
Office Sex Offender Detail. This represented an overtime opportunity to the plaintiff. It was
agreed that both Kendall and plaintiff would attend when the Detail became available.

On Juiy 15, 2013 plainiitf filed an internal complaint with the defendant’s Equal Employment
Opportunity Office. This complaint described the racial harassment that Kendall inflicted on
plaintiff by his use of derogatory terms of “nigger” and “nigga.” Plaintiff met with Captain
Lyons, a New York State Police EEO Counselor. During that meeting, plaintiff described how
Kendall has used the terms “nigger” and “nigga” since 2008 and is currently plaintiff's
supervisor,

On August 1, 2013 plaintiff spoke to Captain Kevin Reilly of the Internal Affairs Bureau ~ West.
During that meeting, Reilly promised plaintiff that Kendall’s computer would be forensically
examined for evidence pursuant to the investigation regarding plaintiff's complaint. Reilly also
stated that Kendall would be notified the following day that Kendall was the subject of a
personnel complaint.

On August 7, 2013 plaintiff contacted Kendall for permission to work the U.S. Marshal’s Office
Sex Offender Detail that Kendall had previously agreed that plaintiff could participate in.
Despite this consent, Kendall now denied plaintiff permission to attend. Kendall stated that there
were too many people on the detail for plaintiff to participate.

On August 8, 2013 Senior Investigator June Bradley returned plaintiff's phone call. Plaintiff
detailed to Bradley Kendall’s denial of plaintiff's request to attend the U.S. Marshal’s Office Sex
Offender Detail,

Also on August 8, 2013, plaintiff speaks to Deputy U.S. Marshal Rick Rooney, coordinator of
the Rochester Sex Offender Detail for the U.S. Marshals. Despite Kendall’s representation to the
contrary, Rooney told plaintiff that plaintiff could have participated in the program for the last

two days.
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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 5of 8

Defendant’s discriminatory and retaliatory conduct harmed plaintiff financially and
psychologically. Defendant’s illegal conduct resulted in plaintiff becoming depressed, losing
sleep, and losing thirty pounds, losing stature in his position at work and the respect of his

colleagues.

FIRST CAUSE OF ACTION

Discrimination in Violation of Title VII of the Civil Rights Act of 1964
Plaintiff repeats each and every allegation set forth herein in the preceding paragraphs as though
fully set forth herein.
To establish a prima facie case of discrimination, a plaintiff must show four things: (1) she is a
member of the protected class; (2) she is qualified for his position; (3) she has suffered an
adverse employment action; and (4) the circumstances surrounding that action give rise to an
inference of discrimination. 42 U.S.C. 2000e-2; Abdu-Brisson v. Delta Air Lines, Inc., 239 F.3d
456, 466-7 (2d Cir 2001).
As to the first element, plaintiff is a member of a protected class: plaintiffis African-American.
As to the second element, plaintiff is qualified for his position as he remains employed and
consistently receives performance reviews which state that he meets the employers expectations.
As to the third element, plaintiff has suffered an adverse employment action by his denial of
requested overtime in participating in the U.S. Marshal’s Office Sex Offender Detail.
As to the fourth element, circumstances exist surrounding that adverse employment action that
give rise to the inference of discrimination. Here, Kendall consistently used language that
displayed his discriminatory mind-set against African-Americans, Kendall’s use of this language
was consistent, constant, and despite plaintiffs repeated requests for Kendall to cease using that
language. Despite this, Kendall continued to display his discriminatory animus to African-

Americans.

SECOND CAUSE OF ACTION
Retaliation in Violation of Title VII of the Civil Rights Act of 1964
Plaintiff repeats each and every allegation set forth herein in the preceding paragraphs as though
fully set forth herein.
To establish a prima facie case for retaliation/opposed discrimination, plaintiff must show that:

(1) he engaged in protected activity; (2) the employer was aware of the activity; (3) the employer

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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 6 of 8

took adverse actions; and (4) a causal connection exists between the protected activity and the
adverse action. Cifra v. General Electric Co., 252 F.3d 205, 216 (2d Cir. 2001).

As to the first element, plaintiff engaged in a protected activity by complaining of Kendall’s
racial slurs.

As to the second element, the employer was aware of the activity because of plaintiff's numerous
requests to Kendall, complaints internally, and complaints filed externally with the EEOC,

As to the third element, the employer took an adverse action against plaintiff by denying his
previously granted request for overtime work.

Ag to the fourth element, a causal connection exists between the protected activity ana the
adverse action. The adverse action, the denial of the previously granted request for overtime

work, came six (6) days after Kendall was made aware of plaintiff's complaint.

THIRD CAUSE OF ACTION

Hostile Work Environment Discrimination in Violation of
Title VII of the Civil Rights Act of 1964

Plaintiff repeats each and every allegation set forth herein in the preceding paragraphs as though
fully set forth herein.

To plead a claim of hostile work environment, plaintiff must show: (a) that the workplace was
permeated with discriminatory intimidation that was sufficiently severe or pervasive to alter the
conditions of her work environment, and (b) that a specific basis exists for imputing the conduct
that created the hostile environment to the employer. Peirosino v. Bell, 385 F.3d 210 (2d Cir.
2004), citing Mack y. Otis Elevator Co., 326 F.3d at 122 (quoting Richardson v. N.Y. State
Dep’t of Corr. Serv., 180 F.3d 426, 436 (2d Cir.1999)).

As to the first element, plaintiff's workplace was permeated with discriminatory intimidation by
Kendall’s constant use of racial slurs for a period of years. The racial slurs were used at least
since 2008 until 2013, which demonstrates that the racial harassment was severe and pervasive.
As to the second element, defendant Kendall’s conduct in creating the hostile work environment
can be imputed to the employer as the defendant New York State Police was made aware of
defendant Kendall’s conduct by plaintiff's numerous complaints of Kendall’s conduct, including

both internal complaints and external complaints.
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Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 7 of 8

FOURTH CAUSE OF ACTION
Discrimination in Violation of §1983 by defendant Kevin Kendall

Plaintiff repeats each and every allegation set forth herein in the preceding paragraphs as though
fully set forth herein.

In order to establish a case of discrimination in violation of §1983 “two-and only two-allegations
are required in order to state a cause of action under that statute. First, the plaintiff must allege
that some person has deprived him of a federal right. Second, he must allege that the person who
has deprived him of that right acted under color of state or territorial law.” Gomez v. Toledu, 446
U.S. 635, 640, 100 8. Ct. 1920, 1923, 64 L. Ed. 2d 572 (1980).

As to the first element, defendant has deprived the plaintiff of a federal right to be free from
racial discrimination under Title VII of the Civil Rights Act of 1964 by creating a hostile work
environment and retaliating against plaintiff for complaining of that hostile work environment by
denying plaintiff a previously granted request for overtime.

As to the second element, plaintiff has alleged that the defendant Kendall acted under color of
state law by Kendall’s operation of his authority as plaintiff's supervisor in the employ of the
New York State Police.

The traditional definition of “acting under color of state law” requires “that the defendant in a §
1983 action have exercised power ‘possessed by virtue of state law and made possible only
because the wrongdoer is clothed with the authority of state law.” West. v. Atkins, 487 U.S. 42,
49, (1988).

The New York State Police was established pursuant to statute by the New York Legislature in
Executive Law §31.

Therefore, in exercising his authority as plaintiff's supervisor, Kendall acted under color of state

law.

WHEREFORE, Plaintiff respectfully requests this Court to enter an Order

A. Awarding plaintiff lost overtime and benefits in an amount to be determined at
trial;

B. Awarding plaintiff damages for his pain, suffering, loss of enjoyment of Irfe,

humiliation and other injuries in an amount to be determined at trial;
Case 1:14-cv-00393-RJA-LGF Document1 Filed 05/23/14 Page 8 of 8

C, Directing defendants pay all unreimbursed medical costs incurred by Plaintiff as a
result of the stress and anxiety resulting from the discrimination he suffered and the hostile
working conditions he endured, including diagnostic analysis, treatment and therapy, and follow
up therapy;

D. Defendants pay plaintiff the costs of this action, together with reasonable

attorneys’ fees and disbursements;

E. Defendants to pay punitive damages for their intentional violation of plaintiffs
rights;
I. injunctive relief as this Court deems just and equitable; and
G. Plaintiff to have such other and further relief as this Court deems just and
equitable.
DEMAND FOR JURY TRIAL

 

Pursuant to Rule 38(b) Fed. R. Civ. P., plaintiff hereby demands a trial by jury for all

issues triable of right by a jury in this case.
Dated: May #7, 2014

Respectfully submitted,
Plaintiff Lethonia Miller
By his attorney

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Lifdy Korn, Esq.

Attorney for Plaintiff

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